Case 7:20-cr-00099-NSR Document 29

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

a

 

UNITED STATES OF AMERICA
-against-
JARED EL MUJAAHID,

Defendant.

 

NELSON S. ROMAN, U.S.D.J.:

Filed 10/19/20 Page 1 of 1

ORDER

20 Cr.0099 (NSR)

The C.J.A. attorney assigned to this case Theodore Green __ is hereby ordered substituted
Attorney's Name

and the representation of the defendant in the above captioned matter is assigned to C.J.A. attorney

Domenick Porco
Attorney's Name

SO ORDERED.

 

 

Dated: White Plains, New York
October 19, 2020

MeL
bee

 
